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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

CONFIGAIR, LLC,                                       )
                                                      )      LEAD DOCKET NO.
                                                      )      3:17-CV-02026-JBA
         Plaintiff/Counterclaim Defendant,            )      U.S.D.C./NEW HAVEN
                                                      )
         v.                                           )
                                                      )      Judge Janet Bond Arterton
HENRY KURZ,                                           )
                                                      )
         Defendant/Counterclaimant.                   )




                                        STATUS REPORT

         Pursuant to the Court’s amended scheduling order dated September 5, 2018 (“Scheduling

Order”) Plaintiff/Counterclaim Defendant ConfigAir LLC (“ConfigAir”) and Third Party

Defendants Daniel Naus, Nizwer Husain and Dung Nguyen (collectively, “Third Party

Defendants”) hereby provide the following status update and request for a new Scheduling

Order.

         1.      The matter was originally commenced on December 5, 2017 by ConfigAir LLC

(“ConfigAir”) (Dkt. 1).

         2.      On February 2, 2018, defendant Henry Kurz (“Kurz”) filed a Motion to Stay (Dkt.

8).

         3.      On March 16, 2018 the parties filed their Report of Parties Planning Meeting

Pursuant to Federal Rules of Civil Procedure 26(f) (Dkt. 12).

         4.      On March 22, 2018 ConfigAir filed its Motion for Leave to file a First Amended

Complaint (Dkt. 13).

         5.      The Court issued a Scheduling Order on May 3, 2018 (Dkt. 15).



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       6.      On June 19, 2018, ConfigAir filed a Motion for Entry of Default (Dkt. 17).

       7.      On June 19, 2018, Kurz formally withdrew his Motion to Stay (Dkt. 18) and his

objection to the filing of the First Amended Complaint (Dkt. 19).

       8.      On June 20, 2018, the Court granted Kurz’s Motion to Withdraw his Motion to

Stay and granted ConfigAir’s Motion to Amend (Dkt. 20).

       9.      On June 25, 2018, Kurz’s filed a Consent Order to change counsel (Dkt. 21).

       10.     On June 26, 2018, ConfigAir filed its First Amended Complaint (Dkt. 22).

       11.     On June 27, 2018, the Court granted Kurz’s Substitution of Counsel request (Dkt.

25).

       12.     On July 1, 2018, Kurz filed an opposition to ConfigAir’s Motion for Entry of

Default (Dkt. 28).

       13.     On July 13, 2018 the Court denied ConfigAir’s Motion for Entry of Default as

premature (Dkt. 29).

       14.     On July 26, 2018, a Summons issued on Kurz’s Third Party Complaint (Dkt. 31).

       15.     On July 24, 2018, Kurz filed an Answer, Counterclaims and a Third Party

Complaint, naming three additional individual defendants (the “Third Party Defendants”) (Dkt.

30). On August 14, 2018 ConfigAir filed its Answer to Kurz’s Counterclaims (Dkt. 32). On

September 18, 2018, the Third Party Defendants filed a Motion to Dismiss the Third Party

Complaint (Dkt. 44).

       16.     On August 15, 2018, the parties submitted a Joint Status Report (Dkt. 33).

       17.     On August 20, 2018, ConfigAir and Third-Party Defendants filed a motion for

Dispositive Motion Pre-Filing Conference (Dkt. 34), which the Court granted on August 21,

2018 (Dkt. 36). A pre-filing conference was held on September 4, 2018 (Dkt. 42).




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       18.    On August 21, 2018, the parties submitted a Joint Motion for Extension of Certain

Deadlines (Dkt. 35), which the Court granted on September 5, 2018, while issuing an Amended

Scheduling Order (Dkt. 41).

       19.    On September 18, 2018, ConfigAir filed its Second Amended Complaint against

Kurz (Dkt. 43). Kurz filed his answer to the Second Amended Complaint with Counterclaims

against ConfigAir on October 10, 2018 (Dkt. 46). ConfigAir filed its answer to the Amended

Counterclaims on October 24, 2018 (Dkt. 48).

       20.    Kurz filed an Amended Third Party Complaint on October 2, 2018 (Dkt. 45). The

Third Party Defendants filed a Motion to Dismiss the Amended Third Party Complaint on

October 24, 2018 (Dkt. 47). Kurz filed his Opposition to the Motion to Dismiss the Amended

Third Party Complaint on November 14, 2018 (Dkt. 51), and the Third Party Defendants filed

their Reply on November 28, 2018 (Dkt. 55.) This motion is still pending before the Court.

       21.    On October 14, 2018, ConfigAir filed a Motion to Consolidate Cases in both this

matter and a related matter in the District of Connecticut (Case No. 18-cv-1377) (the “Related

Case”) (Dkt. 50), which this Court granted on November 29, 2018 (Dkt. 56), consolidating these

two cases under the present case number.

       22.    On October 31, 2018, ConfigAir filed a Motion for Judgment on the Pleadings

(Dkt. 49). On November 21, 2018, Kurz filed his Opposition to the Motion for Judgment on the

Pleadings (Dkt. 52). ConfigAir’s Reply in Support of Motion for Judgment on the Pleadings will

be filed and served no later than December 5, 2018.

       23.     Initial Disclosures and discovery requests have been served by ConfigAir and

Kurz, but not the parties that were the subject of the recent November 29, 2018 Consolidation

Order. ConfigAir and Kurz have exchanged initial discovery demands. Under the current




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schedule, discovery is supposed to be completed by March 25, 2019 and any dispositive motions

will be filed by April 15, 2019.

         24.   Given the recent Consolidation Order, ConfigAir request that the Court hold a

telephonic conference with all parties such that a new proposed Scheduling Order can be

addressed.

         25.   A telephonic status conference is currently scheduled for April 1, 2019 at 10:00

a.m.

         The Related Case

         26.   The Complaint filing date in the Related Case was August 14, 2018 (“Related

Case”)

         27.   Pursuant to a Stipulation, ConfigAir LLC, Daniel Naus, Nizwer Husain and Dung

Nguyen (collectively, “Related Case ConfigAir Defendants”) time to answer or otherwise

respond to the Related Case complaint was set to October 22, 2018 (Related Case Dkt. 10). On

October 22, 2018, the Related Case ConfigAir Defendants filed a Partial Motion to Dismiss

Complaint in the Related Case (Related Case Dkt. 16). On November 12, 2018, Plaintiff Henry

Kurz Consulting GMBH (“HKC”) filed its Opposition to the Partial Motion to Dismiss (Related

Case Dkt. 19). On November 26, 2018, the Related Case ConfigAir Defendants filed their Reply

in Support of the Partial Motion to Dismiss (Related Case Dkt. 26). This motion is still pending

before the Court.

         28.   Related Case Defendant McLaren Automotive, Inc. (“Related Case Defendant

McLaren”) was served on September 19, 2018 and entered into a Stipulation that set its time to

answer or otherwise respond to the Related Case Complaint to October 29, 2018 (Related Case

Dkt. 14). On October 29, 2018, Related Case Defendant McLaren filed its Answer to Complaint

in the Related Case (Related Case Dkt. 18).

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       29.     Service of a copy of the original, untranslated Complaint is alleged to have been

made on Related Case Defendant Maax Bath, Inc. (“Maax”) on November 14, 2018 by a

Huissier de Justice. On November 21, 2018, Maax filed a Motion to Dismiss (Related Case Dkt.

24). No opposition to this motion has yet been filed. HKC’s Opposition to Maax’s Motion to

Dismiss is due on December 12, 2018.

       30.     On November 22, 2018, counsel for HKC, Related Case ConfigAir Defendants,

and Related Case Defendant McLaren filed a partial Rule 26(f) Report of Parties’ Planning

Meeting in the Related Case (Related Case Dkt. 25). All of the parties, including Maax, held a

Rule 26(f) conference on November 27, 2018.

       31.     ConfigAir will ask that the Court adjourn its filing of the Rule 26(f) Report until

such time as a Status Conference with all parties is held.

       32.     On November 14, 2018, Related Case ConfigAir Defendants filed their Motion to

Consolidate in the Related Case (Related Case Dkt. 20), which the Court granted on November

27, 2018, transferring the Related Case to Judge Arterton and the original case docket (Related

Case Dkt. 27 & 28).

       33.     All parties have reviewed and consent to the submission of this Status Report.

       As officers of the Court, undersigned counsel agree to cooperate with each other and the

Court to promote the just, speedy and inexpensive determination of this action.




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Dated: December 3, 2018                             Respectfully submitted,


                                                    /s/ Rebecca A. Brazzano
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of December, 2018, a true copy of the foregoing

STATUS REPORT was filed electronically. Notice of this filing will be sent by e-mail to all

parties by operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF System.


                                             /s/ Rebecca A. Brazzano
                                             Rebecca A. Brazzano




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